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    1   ROB BONTA
        Attorney General of California
    2   HEATHER HOESTEREY
        Supervising Deputy Attorney General
    3   JOSE A. ZELIDON-ZEPEDA
        Deputy Attorney General
    4   State Bar No. 227108
         455 Golden Gate Avenue, Suite 11000
    5    San Francisco, CA 94102-7004
         Telephone: (415) 510-3879
    6    Fax: (415) 703-1234
         E-mail: Jose.ZelidonZepeda@doj.ca.gov
    7   Attorneys for Defendant Attorney General Rob
        Bonta, in his official capacity
    8
    9                   IN THE UNITED STATES DISTRICT COURT
  10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11                                WESTERN DIVISION
  12
  13
        AMERICANS FOR PROSPERITY                2:14-cv-09448-CAS-FFM
  14    FOUNDATION,
                                               DEFENDANT’S RESPONSE TO
  15                                Plaintiff, PLAINTIFF’S MOTION TO SET
                                               DATE FOR FILING A MOTION
  16                v.                         FOR ATTORNEYS’ FEES AND
                                               COSTS, OR, IN THE
  17    ROB BONTA, in his Official             ALTERNATIVE, FOR
        Capacity as Attorney General of the    ATTORNEYS’ FEES AND COSTS
  18    State of California,
                                               Date:         October 25, 2021
  19                              Defendant. Time:           10:00 a.m.
                                               Courtroom: 8D
  20                                           Judge:        The Honorable Christina
                                                             A. Snyder
  21                                           Action Filed: 12/9/2014
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    1                                     INTRODUCTION
    2        This case involves a First Amendment challenge to a state law requirement
    3   that charities disclose donor information as part of their registration to solicit
    4   contributions in California. This Court held a bench trial in 2016, and ruled for
    5   Plaintiff Americans for Prosperity Foundation. That judgment was reversed by the
    6   Ninth Circuit. Subsequently, the Supreme Court granted Plaintiff’s petition for a
    7   writ of certiorari, and ultimately held that the Schedule B requirement at issue
    8   violates the First Amendment.
    9        Plaintiff now requests that this Court set a deadline of November 15, 2021 to
  10    file its Motion for Attorneys’ Fees and Costs, or, In the Alternative, For Attorneys’
  11    Fees and Costs. (ECF No. 209.) To the extent Plaintiff’s request is an extension of
  12    time to file its fees motion, Defendant does not object. However, Defendant
  13    requests that the deadline be extended to December 15, 2021. And Plaintiff’s
  14    alternative request for Attorneys’ Fees and Costs should be denied because it is
  15    unsupported and premature at this juncture.
  16                                        DISCUSSION
  17         On April 21, 2016, this Court entered judgment granting Plaintiff relief on its
  18    as-applied challenge, and permanently enjoining Defendant “from requiring AFP to
  19    file” its Schedule B. Am. for Prosperity Found. v. Harris, 182 F. Supp. 3d 1049,
  20    1059 (C.D. Cal. 2016). The Court rejected Plaintiff’s facial challenge. Id. at 1052-
  21    53. Subsequently, the Court approved a stipulation to extend time to file a motion
  22    for attorneys’ fees and costs until the resolution of all appeals from the judgment.
  23    (ECF No. 187.) The Supreme Court later granted Plaintiff’s petition for a writ of
  24    certiorari, and ultimately held that the Schedule B requirement at issue violates the
  25    First Amendment. Am. for Prosperity Found. v. Bonta, 141 S. Ct. 2373 (2021).
  26         As Plaintiff’s motion indicates, the parties have been conferring regarding fees
  27    issues. (ECF No. 209-1 at 4-5.) Although Defendant does not agree with
  28    Plaintiff’s assertions in its Motion, Defendant does not object to the requested
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    1   extension of time. But to allow the parties adequate time to engage in ongoing
    2   negotiations, Defendant requests that the deadline to file any fees motion and
    3   supporting documentation be set to December 15, 2021. To the extent Plaintiff
    4   moves this Court to award it any substantive relief, including an award of fees and
    5   costs, Defendant opposes that request, and requests the opportunity to submit a
    6   substantive response under Local Rule 54-7 and 7-3, if the Court is inclined to
    7   consider that request at this juncture.
    8                                                  CONCLUSION
    9         For these reasons, Defendant does not oppose Plaintiff’s request to set a filing
  10    date for supplemental information regarding its requests for attorneys’ fees.
  11    However, Defendant requests that the date be set to December 15, 2021. Defendant
  12    otherwise opposes Plaintiff’s motion.
  13
        Dated: October 4, 2021                                 Respectfully submitted,
  14
                                                               ROB BONTA
  15                                                           Attorney General of California
                                                               HEATHER HOESTEREY
  16                                                           Supervising Deputy Attorney General
  17
  18                                                           /s/ Jose A. Zelidon-Zepeda
                                                               JOSE A. ZELIDON-ZEPEDA
  19                                                           Deputy Attorney General
                                                               Attorneys for Defendant Attorney
  20                                                           General Rob Bonta, in his official
                                                               capacity
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  22    Response to Motion to Set Fees Deadline.docx

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